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                                                                     of 13IN CHAMBERS
                                                                                                     U.S.D.C ATLANTA

                                                                                                      May 12 2020
                                                                                               Date: __________________________

                                                                                               JAMES N. HATTEN, Clerk
                                      United States District Court
                                      NORTHERN DISTRICT OF GEORGIA                                  s/B. Evans
                                                                                               By: ____________________________
                                                                                                         Deputy Clerk

  UNITED STATES OF AMERICA
  v.                                                                  CRIMINAL COMPLAINT
                                                                      Case Number: 1:20-mj-370
  MAURICE FAYNE, a/k/a “Arkansas Mo”
                                                                      (UNDER SEAL)


I, the undersigned complainant being duly sworn, state the following is true and correct to the best of my
knowledge and belief. On or about April 28, 2020, in Gwinnett County, in the Northern District of
Georgia, the defendant did

knowingly execute and attempt to execute a scheme and artifice to defraud United Community Bank, a
financial institution as defined in Title 18, United States Code, Section 20, and to obtain moneys and
funds owned by and under the custody and control of United Community Bank, by means of materially
false and fraudulent pretenses, representations, and promises, and by the omission of material facts,

in violation of Title 18, United States Code, Section 1344.


I further state that I am a Special Agent of the Federal Bureau of Investigation, and that this complaint is
based on the following facts:
PLEASE SEE ATTACHED AFFIDAVIT, WHICH IS INCORPORATED BY REFERENCE HEREIN.


Continued on the attached sheet and made a part hereof. Yes


                                                        Paul Fike
                                                         Signature of Complainant
                                                         Paul Fike

Based upon this complaint, this Court finds that there is probable cause to believe that an offense has
been committed and that the defendant has committed it. Sworn to before me by telephone pursuant to
Federal Rule of Criminal Procedure 4.1.

 May 12, 2020                                             at   Atlanta, Georgia
 Date                                                          City and State


 JUSTIN S. ANAND
 UNITED STATES MAGISTRATE JUDGE
 Name and Title of Judicial Officer                            Signature of Judicial Officer
 AUSA Russell Phillips / 2020R00423                            Issued pursuant to Federal Rule of Criminal
                                                               Procedure 4.1
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                                 Affidavit
      I, Paul Fike, hereby depose and state under penalty of perjury that the

following is true and correct to the best of my knowledge and belief:

      I am a Special Agent with the Federal Bureau of Investigation (“FBI”), and

      I have been so employed since 1996. I am currently assigned to the Atlanta

      Division investigating financial crimes, including wire fraud, mail fraud,

      bank fraud, and securities fraud. I am a law enforcement officer of the

      United States within the meaning of 18 U.S. C. §2510(7), and I am

      empowered by law to conduct investigations and to make arrests for

      federal felony offenses.

      This affidavit is made in support of a criminal complaint charging Maurice

      Fayne, a/k/a “Arkansas Mo” (hereinafter, Fayne), with bank fraud in

      violation of 18 U.S.C. § 1344.

      This affidavit is based, in part, on my conversations with other law

      enforcement agents and witnesses, and my review of bank records and

      other documents. This affidavit does not include every fact known to the

      government, but only those facts necessary to support a finding of

      probable cause to support the issuance of the requested arrest warrant.



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                       Applicable Criminal Laws

The bank fraud statute, 18 U.S.C. § 1344, makes it a federal crime for

anyone to knowingly execute or attempt to execute a scheme and artifice

to defraud a financial institution, as defined in 18 U.S.C. § 20, or to obtain

moneys and funds owned by and under the custody and control of a

financial institution, by means of materially false and fraudulent pretenses,

representations, and promises, and by the omission of material facts.

                   The Paycheck Protection Program

The Coronavirus Aid, Relief, and Economic Security (“CARES”) Act is a

federal law enacted in or around March 2020 and was intended to provide

emergency financial assistance to millions of Americans who are suffering

the economic effects caused by the COVID-19 pandemic. One source of

relief provided by the CARES Act was the authorization of up to $349

billion in forgivable loans to small businesses for job retention and certain

other expenses, through a program referred to as the Paycheck Protection

Program (“PPP”). In or around April 2020, Congress authorized over $300

billion in additional PPP funding.

In order to obtain a PPP loan, a qualifying business must submit a PPP

loan application, which must be signed by an authorized representative of


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the business. The PPP loan application requires the business (through its

authorized representative) to acknowledge the program rules and make

certain affirmative certifications in order to be eligible to obtain the PPP

loan. In the PPP loan application, the small business (through its

authorized representative) must state, among other things, its: (a) average

monthly payroll expenses; and (b) number of employees. These figures are

used to calculate the amount of money the small business is eligible to

receive under the PPP. In addition, businesses applying for a PPP loan

must provide documentation showing their payroll expenses.

A PPP loan application must be processed by a participating financial

institution (the lender). If a PPP loan application is approved, the

participating financial institution funds the PPP loan using its own monies,

which are 100% guaranteed by Small Business Administration (SBA).

PPP loan proceeds must be used by the business on certain permissible

expenses—payroll costs, interest on mortgages, rent, and utilities. The PPP

allows the interest and principal on the PPP loan to be entirely forgiven if

the business spends the loan proceeds on these expense items within a

designated period of time (usually eight weeks of receiving the proceeds)

and uses at least 75% of the PPP loan proceeds on payroll expenses.

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                         Flame Trucking Inc.

According to records on file with the Georgia Secretary of State:

a.    Fayne incorporated Flame Trucking Inc. (“Flame Trucking”) on

      April 4, 2019;

b.    Fayne is the CEO and CFO of Flame Trucking; and

c.    Flame Trucking’s principal office is located at 4029 Mountain Side

      Trail, Dacula, Georgia 30019; and

Fayne resides at 4029 Mountain Side Trail, Dacula, Georgia 30019.

               Flame Trucking’s PPP Loan Application

United Community Bank (“UCB”) is a federally insured financial

institution and has its headquarters in Blairsville, Georgia. UCB was an

approved SBA lender and has participated as a lender in the PPP.

On April 15, 2020, Fayne signed and submitted to UCB a PPP loan

application in the name of Flame Trucking. Fayne told UCB that Flame

Trucking had 107 employees and an average monthly payroll of

$1,490,200.

In Flame Trucking’s PPP loan application, Fayne certified that the loan

proceeds would be used to “retain workers and maintain payroll or make

mortgage interest payments, lease payments, and utility payments, as


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specified under the Paycheck Protection Program Rule.” Fayne stated that

he understood he could be prosecuted for fraud if the PPP loan proceeds

were “knowingly used for unauthorized purposes.”

Flame Trucking’s PPP loan application requested a loan in the amount of

$3,725,500, and UCB originally funded the loan in that amount on April 22,

2020.

But UCB subsequently discovered that the loan exceeded the maximum

amount that Flame Trucking could borrow under PPP regulations.

Therefore, to comply with the regulations, UCB took back part of the loan

proceeds on April 28 and April 30, 2020, thereby reducing the loan amount

to $2,045,800.

                Fayne’s Fraudulent use of PPP Loan Proceeds

On or about April 23, 2020, Fayne used Flame Trucking’s PPP loan

proceeds to fund a number of wire transfers, including the following:

a.       $30,000 to D.J;

b.       $50,000 to M.S.; and

c.       $350,000 to C.W.

The $30,000 wire to D.J. and the $50,000 wire to M.S. were payments on

loans.


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C.W. told a Wells Fargo investigator that she was not an employee of

Flame Trucking, and that Fayne is her “brother.” C.W. also told the Wells

Fargo investigator that, after receiving the $350,000 wire transfer from

Fayne, she disbursed that money according to Fayne’s directions.

C.W.’s bank records show that, on or about April 28, 2020, C.W. wire

transferred $84,000 to a jewelry store in Duluth, Georgia for “investment.”

C.W.’s bank records also show that, on or about April 30, 2020, C.W. wire

transferred $40,000 to a woman in Alexander, Arkansas for “child support

completion.”

When C.W. was later interviewed by federal agents, she stated that Fayne

is her “godbrother,” not her “brother.” C.W. also told federal agents that,

before she received the $350,000 wire transfer from Fayne, Fayne told her

he had received a COVID-19 loan from the U.S. government and would be

sending her some of it so that she could handle “payroll” for him when he

was not around. C.W. said Fayne told her that both of the wire transfers he

directed her to make (one to a jewelry store in Georgia and one to a

woman in Arkansas) were for “payroll” purposes.

Loan payments, jewelry purchases, and child support payments are not

authorized uses of PPP loan proceeds.

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According to information obtained from the jewelry store, Fayne paid a

total of $85,065 (including the $84,000 wire transfer and a cash payment of

$1,065) for three pieces of jewelry, specifically: (1) one custom-made 18-

karat Rolex 41mm Presidential watch, serial number 5636S3S8, with

diamonds, which sold for $52,000; (2) one 10-karat custom-made Cuban

bracelet with 34.75 carats of diamonds, which sold for $24,500; and (3) one

14-karat custom-made ring with 5.73 carats of diamonds, which sold for

$3,750.

The following photograph shows a man, believed to be Fayne, wearing the

three pieces of jewelry described above:




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On April 24, 2020, in support of Fayne’s assertion that Flame Trucking had

an average monthly payroll of $1,490,200, Fayne sent an email to UCB,

attaching what Fayne represented to be October, November, and

December 2019 bank statements for Flame Trucking’s account at Arvest

Bank.

According to Arvest Bank, Flame Trucking’s account was closed on

September 17, 2019.

Investigators provided Arvest Bank with copies of the purported October,

November, and December 2019 bank statements that were submitted to

UCB as part of Flame Trucking’s PPP loan application. Arvest Bank

reviewed those documents and informed investigators that they were not

genuine.

On April 27, 2020, Fayne withdrew $65,000 in cash from the UCB account

that held the PPP loan proceeds.

        Fayne’s False Exculpatory Statements to Federal Agents

On May 6, 2020, Fayne was interviewed by federal agents. Fayne admitted

that he submitted a PPP loan application on behalf of Flame Trucking. But

Fayne claimed that he used all of the PPP loan proceeds to pay payroll and

other business expenses incurred by Flame Trucking. And Fayne expressly


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denied that he used any of the PPP loan proceeds to pay his personal debts

and expenses.

                     Search and Seizure Warrants

Between May 7 and May 11, 2020, agents executed seizure warrants and

seized a total of approximately $503,000 in PPP loan proceeds from three

bank accounts used by Fayne to disburse the loan proceeds, including one

at UCB, one at Wells Fargo, and one at Navy Federal Credit Union.

On May 11, 2020, investigators executed a search warrant at Fayne’s

residence, which purportedly was also the principal office of Flame

Trucking.

During the search, agents told Fayne that they had seizure warrants for the

three pieces of jewelry described above. Fayne told agents that the jewelry

was stored in his bedroom, and agents seized the jewelry as authorized by

the seizure warrants. Fayne admitted that he purchased this jewelry with

proceeds of the PPP loan that UCB made to Flame Trucking.

Fayne told the agents that he believed he had the right to use part of the

PPP loan proceeds for “other business purposes” and for “working

capital.” Fayne also stated that he believed the jewelry would increase in

value because he would be wearing it, which would make it more valuable.


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During the search, agents found a bag containing exactly $70,000 in U.S.

currency, most of which was bundled in $2,000 stacks and separated with

paper wrappers bearing the name “United Community Bank” and

stamped “April 23, 2020” or “April 24, 2020.” Two bundles of money were

in envelopes bearing the name “Navy Federal Credit Union.” When asked

where he got this cash, Fayne stated that it was his “personal money.”

During the search, agents seized $9,400 in U.S. currency from the pockets

of the clothes Fayne was wearing.

During the search, Fayne voluntarily agreed to speak with the agents.

Fayne was shown the Arvest Bank statements for October, November, and

December 2019, which were submitted to UCB as part of Flame Trucking’s

PPP loan application. Fayne denied that these were his bank statements,

but he admitted that they were transmitted from his email account to UCB.

Fayne stated that his employees also had access to his email account.

Fayne further stated that the entity identified in those documents as

“Heartland Payroll Systems” was not the payroll processor used by Flame

Trucking. Fayne claimed that he could not remember the name of the

payroll processor Flame Trucking actually used.




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Agents asked Fayne whether he knows the Arkansas woman who received

the $40,000 wire transfer for “child support completion.” Fayne stated that

he does not know that woman, but he added that he does not know the

names of all of his “employees.”

In Fayne’s garage, Agents found a 2019 Rolls-Royce Wraith, VIN:

SCA665C53KUX87297, which still had a temporary dealer tag on it. Agents

asked Fayne whether he used any of the PPP loan proceeds to purchase

that vehicle, and Fayne said: “Kinda, sorta, not really.” According to

documents available online, the total suggested retail price of that vehicle

was $381,975. See https://www.bentleygoldcoast.com/2019-rolls-royce-

wraith-c-8148.htm, last visited 05/12/2020.

                              Conclusion

Based on my training and experience, and the information provided in this

affidavit, I respectfully submit that there is probable cause to believe that

Fayne’s conduct, as described above, violated the bank fraud statute, 18

U.S.C. § 1344, and I request that the Court issue a warrant for his arrest on

those charges.




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                          Request for Sealing

I further request that the Court order that this affidavit, the proposed

criminal complaint, the proposed arrest warrant, the motion to seal, and

the proposed sealing Order be sealed until further order of the Court.

These documents discuss an ongoing criminal investigation that is neither

public nor known to the target of the investigation. Accordingly, there is

good cause to seal these documents because their premature disclosure

may give the target an opportunity to flee, destroy or tamper with

evidence, change patterns of behavior, intimidate potential witnesses,

notify confederates, or otherwise seriously jeopardize the investigation.




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